
This is an- appeal by employer and its insurance carrier from an award in favor of claimant. The claimant was employed as a bus operator by the Ponda, Johnstown &amp; Gloversville R. R. Co. The Board found that on February 22, 1946, while claimant was engaged in the course of his employment and while working for his employer, he slipped on a sidewalk in the city of Amsterdam and sustained accidental injuries in the nature of a fracture of the lower end of the left fibula which resulted in his disability. The evidence sustains the finding of the board. Award affirmed, with costs to the Workmen’s Compensation Board. Hill, P. J., Heffernan, Poster and Russell, JJ., concur; Brewster, J., taking no part.
